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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

LIBRADO F. VILLARREAL JR.,                 )            CASE NO. 4:06CV3137
                                           )
                    Plaintiff,             )
                                           )
             V.                            )                     ORDER
                                           )
JO ANNE B. BARNHART,                       )
Commissioner of the Social Security        )
Administration,                            )
                                           )
                    Defendant.             )



      IT IS ORDERED:

      1.     The unopposed Motion for Enlargement of Time (Filing No. 13) filed by
             Plaintiff Librado F. Villarreal, Jr. is granted;

      2.     The Plaintiff shall file his initial brief on or before Monday, November 27,
             2006; and

      3.     The Defendant shall file her responsive brief on or before Friday,
             December 29, 2006.

      DATED this 17th day of October, 2006.

                                         BY THE COURT:

                                         s/Laurie Smith Camp
                                         United States District Judge
